                          Case 1:12-cv-00972-LY Document 1-3 Filed 10/20/12 Page 1 of 2
                                               CIVIL COVER SHEET
JS-44
(Rev.1/05 DC)

 I (a) PLAINTIFFS Don Zimmerman, Michael Cargill,                                   DEFENDANTS
                                                                                                               Travis County Healthcare District
                        and Mario Jordan
    (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF Travis                        COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT Travis
                        (EXCEPT IN U.S. PLAINTIFF CASES)                                               (IN U.S. PLAINTIFF CASES ONLY)
                                                                                    NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                    TRACT OF LAND INVOLVED

   (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER) ATTORNEYS (IF KNOWN)
  Stephen Casey; Casey Law Office, P.C.
  600 Round Rock West Drive, Suite 602, Round Rock Texas, 78681
 II. BASIS OF JURISDICTION                                         III CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX
      (PLACE AN x IN ONE BOX ONLY)                                 FOR PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!

                                                                                               PTF      DFT                                       PTF         DFT
 9 1 U.S. Government         9x3 Federal Question
     Plaintiff                (U.S. Government Not a Party)
                                                                   Citizen of this State        91      91     Incorporated or Principal Place      94        94
                                                                                                               of Business in This State
 9 2 U.S. Government         9 4 Diversity
                                                                   Citizen of Another State     92      92     Incorporated and Principal Place     95        95
     Defendant                 (Indicate Citizenship of Parties
                                                                                                               of Business in Another State
                                 in item III)
                                                                   Citizen or Subject of a      93      93
                                                                   Foreign Country                              Foreign Nation                     96         96


                                         IV. CASE ASSIGNMENT AND NATURE OF SUIT
           (Place a X in one category, A-N, that best represents your cause of action and one in a corresponding Nature of Suit)
  9 A. Antitrust             9 B. Personal Injury/                        9 C. Administrative Agency                       9x D. Temporary Restraining
                                  Malpractice                                Review                                              Order/Preliminary
                             9 310 Airplane                               9 151 Medicare Act                                      Injunction
  9 410 Antitrust
                             9 315 Airplane Product Liability
                             9 320 Assault, Libel & Slander               Social Security:
                                                                                                                           Any nature of suit from any category may
                             9 330 Federal Employers Liability            9 861 HIA ((1395ff)
                                                                                                                           be selected for this category of case
                             9 340 Marine                                 9 862 Black Lung (923)
                                                                                                                           assignment.
                             9 345 Marine Product Liability               9 863 DIWC/DIWW (405(g)
                             9 350 Motor Vehicle                          9 864 SSID Title XVI
                                                                                                                           *(If Antitrust, then A governs)*
                             9 355 Motor Vehicle Product Liability        9 865 RSI (405(g)
                             9 360 Other Personal Injury
                             9 362 Medical Malpractice                    Other Statutes
                             9 365 Product Liability                      9 891 Agricultural Acts
                             9 368 Asbestos Product Liability             9 892 Economic Stabilization Act
                                                                          9 893 Environmental Matters
                                                                          9 894 Energy Allocation Act
                                                                          9 890 Other Statutory Actions (If
                                                                               Administrative Agency is Involved)

  9 E. General Civil (Other) OR 9 F. Pro Se General Civil
  Real Property                                 Bankruptcy                                 Forfeiture/Penalty
  9 210 Land Condemnation                       9 422 Appeal 28 USC 158                    9 610 Agriculture                 9 470 Racketeer Influenced & Corrupt
  9 220 Foreclosure                             9 423 Withdrawal 28 USC 157                9 620 Other Food &Drug                  Organizations
  9 230 Rent, Lease & Ejectment                                                            9 625 Drug Related Seizure of     Q 480 Consumer Credit
  9 240 Torts to Land                           Prisoner Petitions                                Property 21 USC 881        Q 490 Cable/Satellite TV
  9 245 Tort Product Liability                  9 535 Death Penalty                        9 630 Liquor Laws                 9 810 Selective Service
  9 290 All Other Real Property                 9 540 Mandamus & Other                     9 640 RR & Truck                  9 850 Securities/Commodities/
                                                9 550 Civil Rights                         9 650 Airline Regs                       Exchange
  Personal Property                             9 555 Prison Condition                     9 660 Occupational                9 875 Customer Challenge 12 USC
  9 370 Other Fraud                                                                               Safety/Health                     3410
  9 371 Truth in Lending                        Property Rights                            9 690 Other                       9 900 Appeal of fee determination
  9 380 Other Personal Property Damage          9 820 Copyrights                                                                    under equal access to Justice
  9 385 Property Damage Product Liability       9 830 Patent                                                                 9 950 Constitutionality of State
                                                9 840 Trademark                            Other Statutes                           Statutes
                                                                                           9 400 State Reapportionment       9 890 Other Statutory Actions (if not
                                                Federal Tax Suits                          9 430 Banks & Banking                   administrative agency review or
                                                9 870 Taxes (US plaintiff or               9 450 Commerce/ICC                      Privacy Act
                                                  defendant                                Rates/etc.
                                                9 871 IRS-Third Party 26                   9 460 Deportation
                                                  USC 7609
                  Case 1:12-cv-00972-LY Document 1-3 Filed 10/20/12 Page 2 of 2
  9 G. Habeas Corpus/     9 H. Employment       9 I. FOIA/PRIVACY       9 J. Student Loan
       2255                     Discrimination       ACT
  9 530 Habeas Corpus-General                  9 442 Civil Rights-Employment                 9 895 Freedom of Information Act             9 152 Recovery of Defaulted Student
  9 510 Motion/Vacate Sentence                       (criteria: race, gender/sex,            9 890 Other Statutory Actions                      Loans (excluding veterans)
                                                      national origin,                             (if Privacy Act)
                                                      discrimination, disability
                                                      age, religion, retaliation)

                                               *(If pro se, select this deck)*               *(If pro se, select this deck)*


  9 K. Labor/ERISA                             9 L. Other Civil Rights                       9 M. Contract                                9
                                                                                                                                          x N. Three-Judge Court
     (non-employment)                               (non-employment)                         9 110 Insurance
  9 710 Fair Labor Standards Act               9 441 Voting (if not Voting Rights                                                         x9 441 Civil Rights-Voting (if Voting
                                                                                             9 120 Marine                                         Rights Act)
  9 720 Labor/Mgmt. Relations                        Act)
                                                                                             9 130 Miller Act
  9 730 Labor/Mgmt. Reporting &                9 443 Housing/Accommodations
                                                                                             9 140 Negotiable Instrument
        Disclosure Act                         9 444 Welfare
                                                                                             9 150 Recovery of Overpayment &
  9 740 Labor Railway Act                      9 440 Other Civil Rights
                                                                                                   Enforcement of Judgment
  9 790 Other Labor Litigation                 Q 445 American w/Disabilities-
                                                                                             9 153 Recovery of Overpayment of
  9 791 Empl. Ret. Inc. Security Act                 Employment
                                                                                                   Veteran’s Benefits
                                               Q 446 Americans w/Disabilities-
                                                                                             9 160 Stockholder’s Suits
                                                     Other
                                                                                             9 190 Other Contracts
                                                                                             9 195 Contract Product Liability
                                                                                             Q 196 Franchise


V. ORIGIN
x9 1 Original          9 2 Removed            9 3 Remanded from         9 4 Reinstated         9 5 Transferred from            9 Multi district       9 7Appeal to
    Proceeding             from State             Appellate Court        or Reopened               another district              Litigation              District Judge
                           Court                                                                   (specify)                                             from Mag. Judge



VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
                  42 USC 1973 and 42 USC 1983
VII. REQUESTED IN                   CHECK IF THIS IS A CLASS                                           DEMAND $                Check YES only if demanded in complaint
    COMPLAINT                        9      ACTION UNDER F.R.C.P. 23                                                           JURY DEMAND: 9         x YES            9 NO

VIII. RELATED CASE(S)                         (See instruction)         9 YES         9x NO         If yes, please complete related case form.
      IF ANY

DATE       10/20/12               SIGNATURE OF ATTORNEY OF RECORD                           /s/ Stephen Casey

                                                    INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                                  Authority for Civil Cover Sheet

            The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleadings or other papers as required by
law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of
Court for the purpose of initiating the civil docket sheet. Consequently a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed. Listed below are tips
for completing the civil cover sheet. These tips coincide with the Roman Numerals on the Cover Sheet.

           I.          COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff is resident of
                       Washington, D.C.; 88888 if plaintiff is resident of the United States but not of Washington, D.C., and 99999 if plaintiff is outside the United States.

           III.        CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction under Section
                       II.

           IV.         CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best represents the
                       primary cause of action found in your complaint. You may select only one category. You must also select one corresponding nature of suit found under
                       the category of case.

           VI.         CAUSE OF ACTION: Cite the US Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.       RELATED CASES, IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from the Clerk’s
                       Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
